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                                                UNITED STATES DISTRICT COURT
                                               CENTRAL DISTRICT OF CALIFORNIA

 United States of America                                                   CASE NUMBER:

                                                                                                      2:19-MJ-2166-1
                                                         Pr,AnvTrFF~s~
                                    v.
 Hao Qin                                                                        FINAL COMMITMENT AND WARRANT OF REMOVAL
                                                                                                        District of        New Jersey
                                                       DEFENDANT(S). ~ At
                                                                                                         (City)

To: United States Marshal for the Central District of California

The above-named defendant is hereby remanded to your custody and you are hereby ORDERED to remove him/her forthwith, along
with a certified copy of this Commitment, to the custodian of a place of confinement within the District of Origin, approved by the
Attorney General of the United States, where the defendant shall be received and safely kept until discharged in due course of law.

This defendant was arrested in this District after the filing of a(n):
❑      Indictment             ❑          Information                   G~       Complaint                  ❑          Order of court
❑      Pretrial Release       ❑          Probation                     ❑        Supervised Release         ❑          Violation Notice
       Violation Petition                Violation Petition                     Violation Petition

charging him or her with (brief description of offense)


L~     in violation of Title 21                               United States Code, Section (s) 841

❑      in violation of the conditions of his or her pretrial release imposed by the court.

❑      in violation of the conditions of his or her supervision imposed by the court.
The defendant has now:
 C~    duly waived arrival of process.
 C~    duly waived identity hearing before me on 5/22/19
[1~J   duly waived preliminary hearing before me on 5/22/19 in this district
 ❑     had a preliminary hearing before me on                                               ,and it appears that there is probable cause
       to believe that the offense so charged has been committed and that the defendant has committed it.
❑      had an identity hearing before me on                                        ,and it appears that the defendant is the person
       named as charged, and:
       ❑ Bail has been set at $                                   but has not been posted.
            No bail has been set.
       ❑ Permanent detention has been ordered.
       ❑ Temporary detention has been ordered.
 May 22, 2019
Date                                                           nited States Magistrate Judge
                                                                       RETURN
Received this commitment and designated prisoner on                                                        ,and on                             ,
committed him to                                                                                  and left with the custodian at the same time
a certified copy of the within temporary commitment.
                                                              United States Marshal, Central District of California

Date                                                          Deputy

M-15 (Ol/09)                                  FINAL COMMITMENT AND WARRANT OF REMOVAL
